Case 6:09-cv-00203-LED-JDL Document 282 Filed 02/08/10 Page 1 of 2 PageID #: 3821



                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION

  Fractus, S.A.                               §
                                              §     Civil Action No. 6:09-cv-203
                                              §
  v.                                          §     Jury Trial Demanded
                                              §
                                              §
  Samsung Electronics Co., Ltd., et al        §

          ORDER GRANTING DEFENDANTS’ UNOPPOSED MOTION TO AMEND
          THE DOCKET CONTROL ORDER AND AMENDED DISCOVERY ORDER

           Before the Court is Defendants Research in Motion, Ltd., Research in Motion

  Corporation, Samsung Electronics Co., Ltd., Samsung Telecommunications America, LLC,

  Samsung Electronics Research Institute, Samsung Semiconductor Europe GMBH, LG

  Electronics, Inc., LG Electronics USA, Inc., LG Electronics Mobilecomm USA, Inc., Pantech

  Wireless, Inc., Kyocera Wireless Corporation, Kyocera Communications, Inc., Palm, Inc., HTC

  Corporation, HTC America, Inc., Sharp Corporation, Sharp Electronics Corp., UTStarcom, Inc.,

  Personal Communications Devices Holdings, LLC, Sanyo Electronics Co., Ltd., and Sanyo

  North America Corp. (“Defendants”) Unopposed Motion to Amend the Docket Control Order

  and Amended Discovery Order. After consideration of same, the Court is of the opinion that

  said motion is GRANTED.

           IT IS THEREFORE ORDERED that the Docket Control Order (“DCO”) and Amended

  Discovery Order (DO) is modified as follows:




  {A07\6808\0017\W0417294.1 }
Case 6:09-cv-00203-LED-JDL Document 282 Filed 02/08/10 Page 2 of 2 PageID #: 3822



    ACTION                                          CURRENT DUE DATE        NEW DUE DATE
    Comply with P.R. 3-3 and 3-4-                   February 17, 2010       February 24, 2010
    Invalidity Contentions due. Thereafter, it
    is necessary to obtain leave of Court to
    add and/or amend invalidity contentions,
    pursuant to Patent Rule 3-6.
    Defendant shall join additional parties. It
    is not necessary to file a motion to join
    additional parties prior to this date.
    Thereafter, it is necessary to obtain leave
    of Court to join additional parties.
    Defendant shall assert any counterclaims.
    After this deadline, leave of Court must be
    obtained to assert any counterclaims.
    Add any inequitable conduct allegations
    to pleadings. It is not necessary to file a
    motion for leave to add inequitable
    conduct allegations to pleadings prior to
    this date. Thereafter, it is necessary to
    obtain leave of Court to add inequitable
    conduct allegations to pleadings.
    Parties to file estimates of the amount of    April 18, 2010            April 18, 2011
    time they request at jury selection and trial
    for (1) voir dire, (2) opening statements,
    (3) direct and cross examinations,
                           .            and (4)
    closing arguments.
    Paragraph 1 of Amended Discovery Order, February 19, 2010               February 26, 2010
    Initial Disclosures




                                So ORDERED and SIGNED this 8th day of February, 2010.




                                                         ___________________________________
                                                                    JOHN D. LOVE
                                                         UNITED STATES MAGISTRATE JUDGE




  {A07\6808\0017\W0417294.1 }
